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 REPORTERS COMMITTEE
 FOR FREEDOM OF THE PRESS,
                        Plaintiff,
                                                              Case 1:17-cv-01701-RC
                v.
 FEDERAL BUREAU
 OF INVESTIGATION, et al.,
                        Defendants.


                                 JOINT STATUS REPORT

       Plaintiff Reporters Committee for Freedom of the Press (“Reporters Committee” or

“RCFP”), and Defendants Federal Bureau of Investigation (“FBI”) and U.S. Department of Justice

(“DOJ”), submit this joint status report in response to the Court’s order dated April 9, 2018.

Plaintiff’s Statement/Position

       1.      Background

       This case concerns a request submitted by the Reporters Committee under the Freedom of

Information Act, 5 U.S.C. § 552 (“FOIA”), for records concerning the FBI’s impersonation of

documentary filmmakers, generally, as well as specific records concerning the FBI’s investigation

of Cliven D. Bundy (“Bundy”) and Gregory Burleson (“Burleson”), during which FBI agents

impersonated a documentary film crew—from a fictional “Longbow Productions”—to elicit

recorded statements from Bundy, Burleson, and others. See Compl., ECF No. 1, ¶¶ 9-12.

       Specifically, RCFP’s FOIA request seeks the following categories of records:

       1. All records that mention ‘Longbow’ or ‘Longbow Productions’ since January 1, 2010,
          including but not limited to email communications, case files, training materials, and
          contracts;
       2. All records, including but not limited to email communications, concerning or
          referencing the impersonation of a documentary filmmaker and/or a documentary film
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           crew by the FBI in connection with any criminal investigation related to United States
           v. Burleson, No. 2:16-CR-00046 (PAL) (GMN) (D. Nev.);
       3. The October 2014 video recording of Mr. Burleson made by FBI agents posing as a
          documentary film crew;
       4. All records, including but not limited to email communications, concerning or
          referencing the impersonation of a documentary filmmaker and/or a documentary film
          crew by the FBI in connection with any criminal investigation related to United States
          v. Bundy, No. 2:16-CR-00046 (PAL) (GMN) (D. Nev.);
       5. The ‘release form’ referenced on Page 2 of the Government’s Motion to Strike in
          United States v. Bundy, No. 2:16-CR-00046 (PAL) (GMN), ECF. No. 926 (D. Nev.
          Nov. 2, 2016);
       6. All records, including but not limited to email communications, concerning or
          referencing any other instances of impersonation of a documentary filmmaker and/or a
          documentary film crew by the FBI in connection with any criminal investigation since
          January 1, 2010;
       7. Records of any 'professional credentials, websites and business cards' used by the FBI
          agents in connection with the impersonation of a documentary filmmaker and/or a
          documentary film crew since January 1, 2010; and
       8. All records of the FBI's policies and practices concerning the impersonation of
          documentary filmmakers and/or documentary film crews since January 1, 2010,
          including records of any changes to those policies and practices.

Compl., ECF No. 1, ¶ 19.

       On August 21, 2017, Plaintiff initiated the above-captioned action. See Compl., ECF No.

1, ¶ 2. Defendants did not release records or portions thereof in response to Plaintiff’s FOIA

request prior to the filing of the present lawsuit. See Id. at ¶ 35. Defendants filed an answer on

September 25, 2017. ECF No. 8. That same day, the Court issued a minute order directing the

parties to “meet, confer, and submit a proposed briefing schedule on or before October 10, 2017.”

       The parties have since met and conferred on a number of occasions, and have previously

reported on the status of this matter to the Court as follows:

           •   In the October 10, 2017 joint status report the FBI informed the Court that it was

               still conducting searches for records responsive to Plaintiff’s request and expected

               to complete those searches within the next 30 days.


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           •   In the November 22, 2017 joint status report the FBI stated that its search efforts

               had been complicated, in part, by the location of potentially responsive records in

               the case file of the then-ongoing prosecution of Bundy in Las Vegas, Nevada:

               United States v. Bundy, et al., No. 16-cr-00046 (D. Nev.) (“Bundy Prosecution”).

           •   In the January 23, 2018 joint status report, the FBI reported that it had arranged for

               personnel from FBI headquarters to travel to Las Vegas on January 21, 2018, to

               collect documents from the Bundy Prosecution case files, copy them, and send them

               back to FBI headquarters to be reviewed. On January 20, 2018, however, the

               appropriations to the FBI and DOJ lapsed, and the travel had to be cancelled. The

               Bundy Prosecution was dismissed with prejudice on January 8, 2018.                See

               Judgment of Dismissal, United States v. Bundy, et al., No. 16-cr-00046 (D. Nev.),

               ECF No. 3117. Thereafter, staff in Las Vegas began copying and sending the case-

               file materials to FBI headquarters.

           •   In the March 8, 2018 joint status report the FBI informed the Court that it had made

               what it asserts is its final release of 28 pages of records responsive to item 8 of

               Plaintiff’s request.

       Since the parties’ last joint status report to the Court, the parties have met and conferred

regarding the status of Plaintiff’s FOIA request.

       Defendants counsel has represented that, in response to items 1, 2, and 4 of Plaintiff’s

request, the FBI has obtained a copy of the entire investigative file for the Bundy Prosecution, as

well as the entire case file for the prosecution of Burleson, United States v. Burleson, et al., No.




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16-cr-00046 (D. Nev.) (“Burleson Prosecution”) from the FBI’s Las Vegas field office. 1

Defendants’ counsel informed Plaintiff that those investigative files total more than 50,000 pages,

and that Defendants estimate it would take approximately 13 years for them to review and process

those records.

       In an effort to reduce the number of pages of records that Defendants would be required to

review and process for items 1, 2, and 4 of Plaintiff’s request, Plaintiff asked Defendants to run

searches within the material they collected from the FBI’s Las Vegas field office using the search

terms “Longbow” and “Longbow Productions.”             Defendants’ counsel has represented that

imposing those parameters yields approximately 20,000 pages of records, which Defendants state

would take them approximately 4 years to review and process.

       In the interest of further reducing the number of pages of records that Defendants would

be required to review and process, Plaintiff asked if Defendants could de-dupe records collected

from the FBI’s Las Vegas field office; Defendants’ counsel indicated that because many of the

documents are in hard copy form, they cannot be electronically de-duped. Plaintiff’s counsel also

proposed that Defendants identify and release responsive records that were used as exhibits during

the Bundy and Burleson trials, as those would be already public records that could be released

without delay. Defendants’ counsel rejected this proposal, indicating that Defendants have no way

of determining what exhibits were used at trial.

       Plaintiff has asked Defendants to provide information about the types of records it collected

from the FBI’s Las Vegas field office so that the parties could further meet and confer in an attempt




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  Burleson, one of the armed supporters of Bundy who participated in the 2014 standoff, was
tried and convicted in connection with his role; in July 2017, Burleson was sentenced to more
than 68 years in federal prison. See Compl., ECF No. 1, ¶ 8.
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to reduce the number of pages of responsive records Defendants would be required to review.

Defendants have not provided any information to Plaintiff that would assist them in that effort.

       Defendants’ counsel has also stated that the FBI intends to argue that much of the material

responsive to items 1, 2, and 4 may be withheld pursuant to FOIA Exemption 7(A). And,

specifically, as to item 2, Defendants’ counsel has indicated the FBI will assert that the video

requested by Plaintiff may be withheld under FOIA Exemption 7(A).

       As to item 5, Defendants’ counsel has indicated that the FBI is unable to locate the “release

form” referenced on Page 2 of the Government’s Motion to Strike filed in the Bundy Prosecution.

       As to item 7, Defendants’ counsel has indicated that the FBI searched its Las Vegas field

office, the Criminal Investigative Division, and the Undercover Review Committee and did not

locate records responsive to this request. Plaintiff has requested, but Defendants have not

provided, specific information regarding the search parameters used by the FBI.

       Finally, Defendants’ counsel has indicated that there are two items in Plaintiff’s FOIA

request for which the FBI intends to assert a Glomar response pursuant to FOIA Exemption 7(E)—

the portion of item 1 that requests records regarding “Longbow Productions” for investigations

other than the Bundy and Burleson matters; and item 6.

       2.      Plaintiff’s Position

       Plaintiff strongly disagrees with Defendants’ position that the FBI may properly assert a

Glomar response pursuant to FOIA Exemption 7(E) for a portion of item 1 (specifically, records

regarding “Longbow Productions” for investigations other than the Bundy and Burleson matters)

and item 6 of Plaintiff’s FOIA request. In the interests of efficiency and judicial economy, Plaintiff

intends to move the Court for an order bifurcating briefing to enable the parties to brief, and the




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Court to resolve, the propriety of Defendants’ Glomar response without delay. Defendants have

indicated they will not oppose this motion.

       Plaintiff has conferred with Defendants in good faith in an attempt to reduce the number

of records that Defendants would be required to review and process in response for items 1, 2, and

4 of Plaintiff’s FOIA request. Plaintiff has made clear to Defendants their continued willingness

to consider and agree to reasonable parameters to narrow the scope of records that would need to

be reviewed and processed by Defendants. To date, however, Defendants have been unable to

provide any information to Plaintiff—such as information about the types of records collected by

Defendants from the FBI’s Las Vegas field office—that would enable Plaintiff to do so, and have

rejected proposals by Plaintiff—such as de-duping, and identifying from among the records

Defendants have collected to date those that are public records—as not feasible.

       Plaintiff requests that Defendants continue to process the documents it has collected in

response to items 1, 2, and 4 of Plaintiff’s FOIA request, and remains willing to discuss proposals

to reduce the number of pages of records to be reviewed. Plaintiff recognizes that the FBI’s

“customary rate” of processing and production is 500 documents per month, and seeks the Court’s

assistance in setting a reasonable timetable for the processing of records responsive to items 1, 2,

and 4 of its request that will move this case efficiently towards resolution. See, e.g., Clemente v.

Fed. Bureau of Investigation, 71 F. Supp. 3d 262, 265-69 (D.D.C. 2014) (recognizing that 500

documents per month is the FBI’s “customary rate”, and that a court “may use its equitable powers

to require the agency to process documents according to a court-imposed timeline[]”); see also

Elec. Privacy Info. Ctr. v. Dep’t of Justice, 416 F. Supp. 2d 30, 35 (D.D.C. 2006) (noting that “the

D.C. Circuit has held that ‘[t]he FOIA imposes no limits on courts’ equitable powers in enforcing




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its terms’ and ‘unreasonable delays in disclosing non-exempt documents violate the intent and

purpose of the FOIA, and the courts have a duty to prevent [such] abuses.’” (citation omitted)).

       Plaintiff remains concerned about the sufficiency of the FBI’s search for response records,

for example, Defendants assert that they are unable to locate the single document requested in

Plaintiff’s FOIA Request (item 5), which was referenced in a publicly-filed court record. Further,

the FBI has concluded that it cannot locate records responsive to item 7 of Plaintiff’s Request, but

has not provided Plaintiff with specific information regarding the search parameters utilized.

Defendants’ Statement/Position

       Defendants largely do not dispute Plaintiff’s factual recounting of the parties’ discussions

to date; but they do object to Plaintiff’s statement that Defendants refused to provide information

that would allow the parties to negotiate a more targeted universe of responsive records. That

accusation is contradicted by Plaintiff’s own statement, which acknowledges that the records

collected are the investigative files of the Burleson and Bundy matters, that they are incapable of

being electronically deduplicated, and that approximately 20,000 pages within those records hit

upon the search term “Longbow.” In fact, the real reason that the parties have had difficulty

narrowing the universe of responsive records is because of the expansive and burdensome nature

of Plaintiff’s request. That burdensomeness is compounded by the fact that many of the records

requested by Plaintiff explicitly relate to the Bundy and Burleson investigations that are still

ongoing, meaning that many if not all of those responsive records would be exempt for release by

Exemption 7(A). For this reason, Defendant does not believe that the FBI should be required to

expend scarce agency resources processing those elements of Plaintiff’s request that would take

13 years to fulfill and that would result in the withholding of most responsive information under

Exemption 7(A), even while the parties’ negotiations about limiting that request remain ongoing.



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       Defendant does not, however, object to Plaintiff’s proposal that the Court bifurcate this

matter such that the parties would first brief the FBI’s Glomar responses based on Exemption 7(E)

to portions of item 1 and all of item 6 of Plaintiff’s request. Should the Court agree with the parties’

bifurcation proposal, it should order the parties to confer and submit a proposed schedule for

briefing on the FBI’s Glomar responses under Exemption 7(E) within 14 days of said order.



 Respectfully Submitted,                               Respectfully Submitted,
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 Dated: April 17, 2018                                 Counsel for Defendants




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